Case: 1:19-cv-00071-SNLJ Doc. #: 50 Filed: 02/17/21 Page: 1 of 3 PageID #: 548
 Case: 1:19-cv-00071-SNLJ Doc. #: 50 Filed: 02/17/21 Page: 2 of 3 PageID #: 549




       As this Honorable Court is aware, the undersigned suffers from a disability and has limited

use of his hands and fingers; limited fine motor skills, particularly affecting counsel’s ability to

type. The undersigned has made significant progress on Plaintiffs’ responses to Defendants’

respective motions for summary judgment and will be able to file those responsive filings if this

Honorable Court grants Plaintiffs’ Third Motion for Extension of Time to file Responses to

Defendants City of Van Buren, Missouri and Alonzo Bradwell’s Motion for Summary Judgment

and Defendant Charles Roper’s Motion for Summary Judgment.

       As to Plaintiffs’ responsive filing, the undersigned responds to each fact identified by the

Defendants by paragraph number and Plaintiffs include a section of Plaintiffs’ Additional

Undisputed Material Facts in Support of Plaintiff’s request for this Court to deny Defendants’

Motion for Summary Judgment. (See Exhibit 1 attached hereto as a sample response).

       WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request this Honorable

Court to grant their Third Motion for Extension of Time to file Responses to Defendants City of

Van Buren, Missouri and Alonzo Bradwell’s Motion for Summary Judgment and Defendant

Charles Roper’s Motion for Summary Judgment and for such other and further relief as this Court

deems just and proper under the circumstances.




                                                 2
 Case: 1:19-cv-00071-SNLJ Doc. #: 50 Filed: 02/17/21 Page: 3 of 3 PageID #: 550




                                              Respectfully submitted,

                                              SCHOTTEL & ASSOCIATES, P.C.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 15, 2021 the foregoing was filed electronically with the
Clerk of Court to be served by operation of the Court’s electronic filing system upon the following:

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                                              s/James W. Schottel, Jr.




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